          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 3:95cr178-06

UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
KENNETH JAMES WALLACE. )
                          )

      THIS MATTER is before the Court on the request of the United States

Probation Office to vacate an arrest warrant for the Defendant Kenneth

James Wallace.

      On September 22, 2009, the United States Probation Office filed a

Petition alleging that the Defendant had violated the terms of his supervised

release. [Doc. 515]. Based on the Petition, United States Magistrate Judge

David Cayer ordered the issuance of a warrant for the Defendant’s arrest.

[Doc. 515 at 3]. The United States Probation Office now seeks to vacate the

arrest warrant by striking the Magistrate Judge’s Order for Arrest.           For

grounds, the Probation Office states that the warrant was based on the

Defendant giving false addresses, but that an extensive investigation revealed

that his last reported address was in fact viable.




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     The Court finds that there is good cause to vacate the Order for Arrest

and arrest warrant. Accordingly, IT IS, THEREFORE, ORDERED that the

Order for Arrest entered by Judge Cayer on September 22, 2009 [Doc. 515

at 3] is VACATED, and the warrant for the arrest of the Defendant is hereby

STRICKEN.

     IT IS SO ORDERED.

                                     Signed: October 29, 2009




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